Case 8:02-cr-00111-CEH-J_S Document 1271 Filed 10/07/05 Page 1 of 6 PageID 7858
Case 8:02-cr-00111-CEH-J_S Document 1271 Filed 10/07/05 Page 2 of 6 PageID 7859
Case 8:02-cr-00111-CEH-J_S Document 1271 Filed 10/07/05 Page 3 of 6 PageID 7860
Case 8:02-cr-00111-CEH-J_S Document 1271 Filed 10/07/05 Page 4 of 6 PageID 7861
Case 8:02-cr-00111-CEH-J_S Document 1271 Filed 10/07/05 Page 5 of 6 PageID 7862
Case 8:02-cr-00111-CEH-J_S Document 1271 Filed 10/07/05 Page 6 of 6 PageID 7863
